     Case 1:21-cr-10104-PBS Document 250-4 Filed 08/02/23 Page 1 of 2


       Your Honor,

        My name is Boris Leonov, I am 38 years old. I started working at M13, the company founded and
 led by Vladislav Klyushin, in December 2013.

       Vladislav created the company in order to finish an information and analytical system project, which
 the contractor company failed to deliver on time. But being a man of his word, and even without any
 actuall understanding of IT industry at the time, he hired employees at his own expense and managed to
 complete the project.

         For 8 years I have been working my way up from the position of IT specialist to the CIO of M13. And
 all this is due to Vladislav. He is always ready to hear new proposals and support the development of both
 the company's products and self-development of employees, even if the financial benefits from it are
 uncertain. He is always ready to listen to all sides of any conflict, so he can understand and make an
 informed decision. You can always tell him when he is wrong about something and you’ll never hear in
 response, as we say in Russia: "I'm the boss and you're the fool, go and do what you're told." I can describe
 him as a sincere, honest and kind man, who always thinks about his employees’ needs.

        In December 2015, I had an accident, I fell and the joint and several bones in my foot got fractured.
I told this only to my colleague in the office and called an ambulance. A colleague passed the information
to Vladislav, and he immediately sent a driver and ordered to take me to the best trauma center in our
entire country. In fact, he paid out of his own funds for an expensive emergency operation and further
treatment, and only thanks to his quick response and generosity, I did not become disabled and can still
walk. He did all this out of the goodness of his heart. He never asked for any reimbursement of costs, and
in general never touched upon the cost of treatment in our further communication.

     A similar situation happened with my colleague who, as a result of an epileptic seizure, received a
compression fracture of the spine. It was also only thanks to Vladislav that he did not become disabled.
      I want to note that Vladislav treats his many employees very warmly, not even as subordinates, but
as those who are near and dear to him, friends, colleagues. For me personally, over the years Vladislav
has become more than just a company leader, but a friend on whom you can always count to give an
advice or help.

       In Russia soon we all will celebrate the New Year – it is a family holiday that means as much to us
as the Christmas holiday means to the Catholic world. And it pains me to realize that Vladislav's big family
will not be able to share the joys of this one magical night of the year with him.




                                                                                         December 20, 2021
                                                                                              Leonov Boris
                                                                                              M13 LLC CIO
     Case 1:21-cr-10104-PBS Document 250-4 Filed 08/02/23 Page 2 of 2

Contact Information:
Boris Leonov
Leonov-bv@m13.ru
